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UNITED STATES I)ISTRICT COURT
DISTRICT (}F CONNECTICUT

KAUTHER BADR, : CIVIL ACTION NO.:
3:06~cv~01208»AI-IN
Plaintiff,
V.
LIBERTY MUTUAL GROUP, INC., : JULY 18, 2007
Defendant.
MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S

MOTION TO QUASH SUBPOENA DUCES TECUM
AND FOR PROTEQTIVE ORDER

Plaintiff Kauther Badr hereby moves to quash the subpoena duces tecum defendant liberty

Mutual Group, lrrc. (“LM”) is serving upon plaintiff s fenner employer, Enterprise Rent-A-Car

(“Errterprise”). As set forth below, Ll\/l seeks documents from plaintiffs former employer, Enterprise, in

an effort to discover whether plaintiff brought any claims or made any allegations similar to the

harassment/retaliation claims she presently has asserted against defendant Such a fishing expedition is

not countenanced under the Federal rules of discovery, as efforts to prove “litigiousness” have been held

to be Wholly irrelevant and inadmissible in discrimination litigation Because the subpoena is not

designed to uneover, or lead to the discovery of, admissible evidence, the subpoena should be quashed

and a protective order should issue precluding defendant’s attempts to uncover evidence of prior

complaints by plaintiff of discrimination against former employers

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Ed§'l§

This action by Ms. Kauther Badr seeks damages arising out of defendant’s discrimination and
retaliation during her employment in violation of Title VII, 29 U.S.C. §2000, 42 U.S.C. §1981, and
Connecticut’s Fair Employrnent Practices Act, 47a~6(). Ms. Badr began her employment as a Sales
Representative with defendant in its Starnford, Connecticut office on November 3, 2003. (Compl. 1§1}6»
7.) Ms. Badr successfully completed her initial months of empioyment, but in late 2004, plaintiffs male
coworkers in sales began making sexist and lewd remarks about her and other Wornen. (Compl. §§8.)
’l`hese comments were made openly in the office and were often heard by l\/ls. Badr’s supervisor.
(Cornpl. 118.) Ms. Badr was subjected to several instances of overt harassment by these coworkers on the
basis of her gender, religion and national origin (Cornpl. 1§1[9-10, 13.) This included repeated allegations
that l\/ls. Badr, by virtue of her religious beliefs and ethnicity, was a terrorist with family ties to
terrorism. (Compl. 1§13.) l\/ls. Badr repeatedly complained to her superiors about the hostility of the work
environment (Cornpl. iild.) Despite her complaints, the harassment continued, and in entails in February
through May 2005, plaintiff and several of her female coworkers complained of intimidation, personal
attacks, threats and taunting. (Cornpl. ill6.) ln an email dated April 4, 2005 from Ms. Badr to Sabrina
Allard, her immediate supervisor, and also to Dan Zbin, the Assistant Regional Sales Manager, she
described the Stamford office as “war-like” and describes her actions in terms of survival (Compl. 1[16.)

The inappropriate behavior of plaintiffs male coworkers was allowed to continue unabated,
however, and Ms. Badr and other females in the Stamf`ord office continued to complain to management
(Compl. ‘Hl'/.) `Rather than taking the appropriate responsive action, these complaints were met with an
attitude of annoyance (Compl. 1]17.) ln fact, complaints about the verbal attacks by these three

coworkers led defendant’s management to issue a written reprimand against l\/lr. Badr. (Cornpl. 1l25.)

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Plaintiff sent an email to Ms. Allard, Mr. Zbin and lames MacPhee, the defendant’s Senior Vice
President, in which she again complained of discriminatory conduct and the defendant’s failure to
respond to protect her. (Compl. 126.) Ultimately, as a direct result and consequence of her complaints,

Ms. Badr was ultimately fired on June l, 2005, ostensibly on the basis of performance and attendance

issues (Cornpl. 1127.)

Prior to working for defendant, i\/Is. Badr worked for Enterprise from 2002 to November 2003,

first as a Sales associate and later as an assistant manager. During l\/.ls. Badr’s deposition, counsel for LM

asked l\/ls. Badr the following:

Q.

A.
Q.

or_:>
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Now, when you worked for Enterprise Rent»A~Car, did you bring any complaints
against the company?

No.

Did you discuss with [your supervisor] any complaints you planned to bring
against the company?

No.

Do you recall discussing with anyone at Liberty Mutual the fact that you felt you
were discriminated against as an employee at Enterprise Rent»A-Car?

l\/IR. LUCAS: Obj ection

No.

Okay. Do you -m did you ever tell anybody at Liberty Mutual that you ~ that you
knew somebody who had plans to sue Enterprise Rent-A~Car?

No.

Okay. `Did you ever tell anyone at Liberty Mutual that you knew somebody who
planned to bring some kind of claim against Enterprise Rent~A»Car?

No.

And did you ever tell anyone at liberty Mutual that you knew somebody who was
discriminated against by Enterprise Rent-A~Car?

No.

lj)id you ever feel discriminated against in your position at Enterprise Rent-A-
Car?

No.

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(Deposition of Kauther Badr at 29~32 (attached hereto as Exhibit A).) Despite the fact l\/ls. Badr denied
making any complaints of discrimination or harassment as to any Enterprise manager or other employee,
LM now seeks to compel the production from Enterprise of l\/ls. Badr’s personnel file and other
documents that may relate to any complaints by her or involving her. In attempting to discuss and limit
the scope of this subpoena, the undersigned was informed the focus of the inquiry was to determine the
veracity of plaintiffs responses during her deposition for impeachment purposes and specifically to
determine whether she had in fact made any prior claims of discrimination or harassment Presumably, if
the discovery uncovered such a complaint, defendant intends that information to be used at trial to
portray l\/ls. Badr as a manipulative complainer and/ or at least a litigious and vociferous individual when
it comes to civil rights

As set forth below, such a baseless fishing expedition is not proper.

ARGUMENT

Defendant seeks to compel Enterprise, through its subpoena duces tecum, to produce to it:

“Any and all records relating to former employee Kauther Badr (approximate dates of

employment in the Greenwich, CT office: May 2002 - October 2003), including but not

limited to herz personnel file; any investigative file relating to complaints she lodged or

complaints lodged about berg resume; background check documents', and notes from any

interviews with or investigations relating to Ms. Bard.”
(_S_ee Schedule A to Subpoena Duces Tecunr, appended to defendant’s Notice of intent to Serve
Subpoena Duces Tecum dated July 12, 2007.)

In support of this request, defendant stated to the undersigned it is seeking facts to impeach
plaintiffs claim she did not lodge a complaint against her former employer some 4 years ago and to

show she indeed made a claim similar to the current one against her previous employer. (§pg Affidavit

of Counsel appended to plaintiffs Motion to Quash.) Even assuming the facts are as defendant suggests,

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which plaintiff denies, this Circuit, in Outlev v. Citv of New York, 837 F.2d 587, 593 (2d Cir. 1988),
clearly indicates that such an effort is not reasonabiy calculated to lead to the discovery of admissible
evidence in gutl_ey, plaintiff brought a civil rights action in which the jury found for the defendants On
appeal, the Second Circuit Court of Appeals found that the defendant‘s effort to paint plaintiff as a
"chronic litigant" was improper. Defendants argued that its evidence of previous lawsuits by plaintiff
was offered simply to impeach the plaintiff The Second Circuit, rejecting this argument, stated that
"[t]he charge of litigiousuess is a serious one, likely to result in undue prejudice against the party
charged, unless the previous claims made by the party are shown to have been fraudulent." ld_. at 592.

The court in “Qyitley analyzed the alternative argument by defendant that the evidence should be
admissible under Ruie 404(b) of the Federal Rules of Evidence as evidence of other crimes, wrongs or
acts in order to prove motive, opportunity, intent and the like. The court, utilizing a Ruie 404(b)
analysis, held that "[t]he total impact of the evidence was to show that [plaintiff] is 'ciairn-minded‘ and
that the claims before the court were just two more in a long line of lawsuits Excepting this type of
evidence from the general rule of 404(b) would permit an exception to swallow the rule.” lyda at 593.

'fhe Qg§gy court further held that:

Proof of [piaintiffs] prior lawsuits might be probative as to bias, but their existence aione

is hardiy conciusive on the issue. in order for a jury to properly consider them, the

particular details of each action, and the extent to which the bringing of each action was

justified, must be before the jury. Opening up this area thus invites detailed inquiries,

denials, and expianations, likely to lead to muitifariousness and a confusion of issues. As

such, at least in this case, it is an area of examination better left closed.
§dm.“ at 594-95; §g§ also l\/fathis v. Philiips Chevrolet. lnc., 269 F3d 77i, 775-76 ( 7th Cir. 2001) (hoiding

error to admit evidence of prior lawsuits unless four-part test satisfied: (I) the evidence must establish

something other than a propensity to sue; (2) the other act rnust be similar to the instant case and close in

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time; (3) the evidence must be clear to the jury that the party committed the act in question; and (4) the
prejudicial effect must not outweigh the probative effect.).

Accordingly, ng finds that to be admissible, evidence of prior lawsuits must first be shown to
be unjustified (i.e., fraudulent), and then will only be admissible in the most rare of rare circumstances
once the rabbit trail of a detailed factual inquiry is followed In general, however, any evidence of
litigiousness must be excluded §_e§ also Constantino v. Herzog, M.D.. 203 F.?)d 164, 176 (Zd Cir. 2000)

(holding that examples of litigiousness are not appropriately placed before trier of fact).

Efforts at unfocused discovery of prior claims such as that propounded by defendant in this case
are routinely rejected. For example, in lvlallov v. Wayne Laboratories, Inc., 95 F.R.I). 488 (I).Mass.
l982), the court addressed the question of "whether information regarding any other lawsuits and/or
employment discrimination charges Which plaintiff may have filed against any of his prior employers is
relevant to the subject matter of his lawsuit" and whether such information was discoverable I_dL at 489.
Defendant sought such information claiming it was reasonably calculated to lead to the discovery of
admissible evidence and properly within the scope of discovery The court, noting the strong preference

against such discovery and the chilling effect is has on a litigants rights, stated that the defendant

[H]as put nothing before this Court to support its contention that [plaintift] is either
"hypersensitive" or "trigger~happy" other than [defendant‘s] "suspicion" that they might
discover something to support that theory. This is a fishing expedition into irrelevant
waters
l_d“. at 490 (emphasis in original). The court then denied defendants motion to compel such information
See also Hasbrouck v. Bank America Housing Services, 187 F.R.D. 453 (N.D. New York 1999)

(ordering protective order on behalf of plaintiff precluding discovery sought by defendant seeking

information about prior litigation and settlement with former employer).

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In the instant case, defendant can offer absolutely no evidence that the plaintiff engaged in any
wrongful or fraudulent conduct in any way linked to this action, and the broad and clearly over~
expansive range of information sought demonstrates that they are merely on a fishing expedition 'l`here
is absolutely nothing tying any suspicion of alleged prior claims, demands, grievances, etc., With the
present litigation, and no reason to explore the details of plaintiffs employment four years ago.

CONCLUSION

For the foregoing reasons, plaintiff respectfully requests that the subpoena served on Enterprise

be quashed and that a protective order issue precluding defendant’s attempts to uncover evidence of

prior complaints by plaintiff of discrimination against former employers

PLAINTIFF
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CERTIFICATE OF SER VICE
This is to certify that on this 18th day of July, 2007, a copy of the foregoing was filed
electronically [and served by mail on anyone unable to accept electronic tiling]. Notice of this filing will
be sent by e-rnail to all parties, as listed below, by operation of the Court’s electronic filing system [or
by mail to anyone unable to accept electronic filing]. Parties may access this filing through the Court’s

system.

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EXHIBIT A

 

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d KA§}THER BADR,

5 Plaintiff,
Civil Action No.

6 -vSm 3:06CV*01208 (AHN)

7 LIBERTY M§T§AL GROU§’, INC.,

-_1~._./-._,'~..._¢~..._/-.1~._._/~.`,/~...,¢

8 Defendant.
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11 VOLUME§

12 Peqes 1 w 301

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15 Deposition of KAUTHER BADR, taken before

Bethany A. Carrior, a Court Reporter and Notary Public
16 within and for the State of Connecticut, pursuant to

Notice and the Federal Rules of Civil Procedure, at the
27 offices of Jackeon Lewis, 90 State House Square, j

Hartford, Connecricur, taken on May 2, 2007, commencing §
18 at 10:0§ a.m. ‘

 

19

20

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22

23 Bethany A. Carrior, LSR 071
Brandon Smith Repcrtinq Service

24 dd Capitol Avenue
Hartford, Connecticut 06106

25 (860) 549-1850

 

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Badr v. l_iberty Mutual

 

   
 

   
 
 

 

   
 
 

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Page 26 Page 28 §
1 MR. LUCAS: Objectlon to form. Talktng 1 A To manage the office To manage the fleet of t
2 about with her boyfriend? 2 cars. Daily tasks as to activities answering the l
3 IVlS. STRANGE: t\to. I‘m talking about 3 phones, providing excellent customer service, training
4 ever. 4 employees
5 MR. LUCAS: In her life? 5 Q And when did you first become the assistant
6 MS. STRANGE: Yes. 6 manager at Enterprise Rent-A-Car?
7 tle. LUCAS: Objectton. 7 A lcan't recall exactly. Let's see, l was in
8 A Could you rephrase the question, please? 8 Greenwich “~~ I can't recall exactly. I'm sorry.
9 BY MS. STRAE\EGE: 9 Q When did you graduate from college?
10 Q Sure. You testified that you channeled your 10 A In 2002. lVlay of 2002.
11 aggressions and arguments towards your boyfriend 11 Q And did you hold the position with Enterprtse
12 A Yes. 12 Rent~A~Car when you graduated from coltege?
13 Q Dld you, in your life, did you ever have 13 A Not as an assistant manager, no.
14 problems in other situations where you mishandled or 14 Q Did you work for Enterprlse Rent-A-Car?
15 did not channel your aggressions properly? 15 A Yes. §
16 l\/tR. LUCAS: Objectlon. 16 Q Ancl did you work for them when you graduated§
17 A i\to. 17 from college?
18 BY MS. STRANGE: 18 A Yes.
19 Q And how would you describe your 19 Q And what position did you hold then? §
20 personality? 20 A I was -- l can‘t recall the exact name, but l §
21 A Outgoing. Independent. Betore leerty 21 was a sales associate or a »~ l can‘t recall the exact 5
22 Mutual l was very soclaI. Now l would say I'rn more 22 tltle, ;
23 unsoclal. 23 Q And where did you hold that position? §§
24 Q And for the time period that you worked for 24 A In Stamford. l
25 t.lberty Mutual, did you have a problem being social 25 Q Ahd then you said you Were in Greenwlch. §
Page 27 Page 29 §
1 with your coworkers? 1 When did you go to Greenwtch? l
2 A No. 2 A l went from Stamford to Darien, then from .
3 Q Would lt surprise you if your coworkers 3 Darien to Greenwtch. l can't recall the exact time ’
4 described you as an angry and aggressive person when 4 frames that I was in each office, but my shortest time
5 you worked at Ltberty Mutual? 5 was th the tbarlen office.
6 MR. LUCAS: Objectton. 6 Q Now, When you worked for Enterprise
7 A Yes. 7 Rent~A~Car, did you bring any complaints against the
8 BY MS. STRANGE: 8 company?
9 Q So did you consider yourself angry and 9 A No.
10 aggressive when you worked at Liberty Mutual? 10 Q Did you discuss with 30hn Mlceli any
11 A §\lo. 11 complaints you planned to bring against the company?
12 Q And where did you work before working at 12 A No.
13 i_lberty Mutual? 13 Q And who ls Rochelle Dalley?
14 A Enterprise Rent»A~Car. 14 A Who?
15 Q And what was your position at Enterprtse 15 Q Who is ~~
16 Rent-A-Car? 16 MR. LUCAS: Rochelle.
17 A |Vty last position Was an assistant manager in 17 BY thS. STRANGE:
18 the Greenwich, Connec'dcut office 18 Q Rochelte Dalley.
19 Q Who did you report to? 19 A She`s a friend of mine
20 A John Mlcell. 20 Q Did she work with you at Enterprlse
21 Q And did you ~~ did you work with John Mtceli 21 Rent~A-Car?
22 at liberty t\/lutual as wel|? 22 A Brietty we worked together, yes.
23 A Yes. 23 Q And do you know whether she brought any
24 Q l\low, Enterprise Rent-A~Car what were your job 24 complaints again the company?
25 duties as assistant manager? 25 A E\lo.

 

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Badr v. Liberty Mutua|

 

 

 

 

  
    

    

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Page 30 iJage 32
1 Q You say no. ls it that you don't know or 1 A No.
2 that she did not? 2 Q All right. Now, when did your employment at
3 A I'm not sure. 3 Enterprise Rent-A-Car end? -
4 Q i\iot sure. Okay. Do you recall discussing 4 A October of 2003.
5 with anybody at Liberty Mutual the fact that you felt 5 Q And why did that end?
6 you were discriminated against at fnterprise 6 A I opted to leave for a position at Liberty
7 Rent-A-Car? 7 i\/lutuai. i»
8 MR. LUCAS: Objection to form 8 Q And now did you hear about the position at l
9 Ti~il':“ WITNESS: Can 1 answer? 9 i.iberty l\/iutual?
10 |ViR. LUCAS: Was the question did she do 10 A 1 had rented a vehicle to Jeffrey Cybart, and
11 that, or as a predicate you have a presumption that 11 he at the time was working with Jet Blue and lie
12 she did. So that‘s my objection 12 acquired a position with Liberty Mutuai and he called
13 lViS. STRANGE: All rignt. l think you 13 me after and referred me to the company.
14 can just obiect. If she doesn't understand, she can 14 Q i\iow, did -- are you still in touch with
15 tell me. 15 jeffrey Cyl;)art?
16 rvin. tuci\s: t think you should ask 16 A No.
17 proper questions 17 Q Are you still in touch with John Miceli?
18 iViS. STRANGE: You can note your 18 A Yes. §
19 objection 19 Q When is the last time you spoke with him? ii
20 BY MS. STRANGE: 20 A i‘~“our months ago perhaps
21 Q Do you recall discussing with anyone at 21 Q l-iave you discussed your ~- this lawsuit with
22 Liberty Mutual the fact that you felt you were 22 hirn?
23 discriminated against as an employee at Enterprise 23 A i\io.
24 Rent-A~Car? 24 Q Why did you tail< to him four months ago?
25 MR. LUCAS: Objection. 25 A Because John also owns an independent
Page 31 Page 33
1 A i\io. 1 broker ~- brokerage, and we are brokered with some of _
2 BY MS. STRANGE: 2 the same companies And we actuain saw each other at §
3 Q And do you know, discussing with anyone at 3 a meeting
4 Liberty Mutuai, the fact that anybody else was 4 Q And before that meeting, when is the last
5 discriminated against at Enterprise Rent-A-Car? 5 time you saw him?
6 lVlR. L.UCAS: Same objection 6 A I can't recall. Saw hlm?
7 A Could you rephrase the question, please? 7 Q Yes.
8 BY MS. STRANGE: 8 A 1 can’t recall. §
9 Q Sure. Is there something about the question 9 Q Who have you discussed your lawsuit against §
10 that you don’t understand? 10 Liberty lVlutual with, other than your attorney?
11 n I'm not sure exactly what you‘re asking. 11 A My psychologist my husband, my mother. §
12 Q Oi<ay. Do you ~» did you ever tell anybody at 12 Q And 1 asked you before about Rochelie Dalley. §
13 i_iberty l\/lutual that you -- that you knew somebody who 13 ilave you discussed your lawsuit against Liberty Mutual §
14 had plans to sue Enterprise Rent-A-Car? 14 with her? §
15 A No. 15 A \'es. Yes, I have. §
16 Q Okay. Did you ever tell anyone at Liberty 16 Q Wiien is the last time you discussed it with ‘;'j
17 Mutual that you knew somebody who planned to bring sorne 17 her?
18 kind of claim against Enterprise Rent-A~Car? 18 A I can’t recall exactly Li|<e I said,
19 A i\lo. 19 Rociielle and 1 are friends
20 Q And did you ever tell anyone at liberty 20 Q \Nhat have you discussed with her regarding
21 Mutuai that you knew somebody who was discriminated 21 your lawsuit?
22 against by Enterprise kent-A-Car? 22 A Things that have happened in the office
23 A i\lo. 23 Q Did you tell iier you're going to testify here
24 Q Did you ever feel discriminated against in 24 today?
25 your position at Enterprise Rent-A-Car? 25

 

 

 

A I told her, but it was a while ago. It §

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Kauther Badr

 

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KAUTHER BADR

Subscrib@d to and Sworn before me

on this 50 [L_ day of (/’?LLé/f/r/

2007.

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l STATE'OF CONNECTICUT
2 I, Bethany A, Carrier, LSR 071, a Notary Public,
3 duly commissioned and qualified in and for the State of
4 Connecticut, do hereby certify that pursuant to Notice,
5 there came before me on the 2nd day of May, 2007, the
6 following-named person, to wit: KAUTHER BADR, Who Was
7 by me duly sworn to testify to the truth and nothing
8 but the truth; that she was thereupon carefully
9 examined upon her oath and her examination reduced to
10 writing under my supervision; that this deposition is a
11 true record of the testimony given by the witness.
12 1 §urther certify that l am neither attorney nor
13 counsel for nor related to nor employed by any of the
le parties to the action in Which this deposition is
15 taken, and further that I am not a relative or employee
16 of any attorney or counsel employed by the parties
17 herato, or financially interested in this action.
18 IN WITNESS THEREOF, 1 have hareunto set my hand
this day of , 2007.
19
a
20 “’
@;ZW (_/MM
21
Bethany A. Carrier
22 Notary Publio
23
My Commission Expires:
24 October 31, 2008
25

 

 

 

Brandon Smith Reporting
Brandon Smith Reporting

